                    Case: 1:21-mj-00161-KLL Doc #: 1-1 Filed: 02/18/21 Page: 1 of 1 PAGEID #: 29
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                                                                   IRUWKH
                                                         District of Columbia
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                    8QLWHG6WDWHVRI$PHULFD
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                    6$1'5$ 587+ 3$5.(5



                               Defendant


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7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU

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(name of person to be arrested)         6$1'5$ 587+ 3$5.(5                                                                                
ZKRLVDFFXVHGRIDQRIIHQVHRUYLRODWLRQEDVHGRQWKHIROORZLQJGRFXPHQWILOHGZLWKWKHFRXUW

u ,QGLFWPHQW                u 6XSHUVHGLQJ,QGLFWPHQW        u ,QIRUPDWLRQ        u 6XSHUVHGLQJ,QIRUPDWLRQ             ✔ &RPSODLQW
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u 3UREDWLRQ9LRODWLRQ3HWLWLRQ               u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       u 9LRODWLRQ1RWLFH          u 2UGHURIWKH&RXUW

7KLVRIIHQVHLVEULHIO\GHVFULEHGDVIROORZV
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                                                                                                         2021.02.12
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                                                                                            Issuing officer’s signature

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                                                                                              Printed name and title


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           7KLVZDUUDQWZDVUHFHLYHGRQ(date)                           DQGWKHSHUVRQZDVDUUHVWHGRQ (date)
DW (city and state)                                            

'DWH
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
